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JOHN W. HUBER, United States Attorney (#7226)
MICHAEL GADD, Special Assistant United States Attorney (#13704)
VERNON G. STEJSKAL, Assistant United States Attorney (#8434)
KENT A. BURGGRAAF, Special Assistant United States Attorney (#13044)
Attorneys for the United States of America
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682
Email: michael.gadd@usdoj.gov

                         IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                          Case No. 2:16-cr-631DAK

           Plaintiff,                                NOTICE RELATING TO EXPERT
                                                     TESTIMONY PURSUANT TO
           vs.                                       Fed.R.Crim.Pro. 16(a)(1)(G) AND
                                                     Fed.R.Evid. 702
  AARON MICHAEL SHAMO,

           Defendant.
                                                     Judge Dale A. Kimball



         The United States of America, by and through Special Assistant United States Attorney

Michael Gadd, and pursuant to Rule 16(a)(1)(G) of the Federal Rules of Criminal Procedure and

Rule 702 of the Federal Rules of Evidence, hereby provides to the defendant the following notice

relating expert testimony the United States may offer in the trial of this case. The United States

hereby offers this notice regarding the potential expert testimony of Dr. Stacey L. Hail, MD,

FACMT. The summary of the testimony of this witness and the basis for her testimony is listed

below.




                                                 1
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A.          Rule 16(a)(1)(G) Summary: Dr. Hail may offer expert testimony on the following

subjects:

        Manner and Means of the death of R.K.. Dr. Hail will offer detailed expert testimony

about the manner and means of the death of R.K, occurring on June 13, 2016. Dr. Hail will

testify that she reviewed all relevant reports with regard to R.K.’s death including an autopsy

report, a toxicology report, and police reports detailing the location of the death and interviews

with witnesses. She will testify that fentanyl and other substances such as alcohol were found in

the blood of R.K. She will testify that upon examination of the body, there were no signs of

trauma or pre-existing conditions that would have led to the death of an otherwise healthy 21

year old male. She will testify that in her expert medical opinion, fentanyl was the “but for”

cause of R.K.’s death. A copy of Dr. Hail’s Report, dated April 25, 2018 was previously

provided to defense counsel, bates numbered pages 004-007-030-00207 through -00219 (13

pages). She will testify in further detail as to the contents of that report.

B.           Expert Qualifications: Rule 702 of the Federal Rules of Evidence provides that:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if:

        (a) the expert’s scientific, technical, or other specialized knowledge will help the
        trier of fact to understand the evidence or to determine a fact in issue;
        (b) the testimony is based on sufficient facts or data;
        (c) the testimony is the product of reliable principles and methods; and
        (d) the expert has reliably applied the principles and methods to the facts of the
        case. 1

A copy of Dr. Hail’s professional biography may be found at https://utswmed.org/doctors/stacey-


1 FRE 702.

                                                   2
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hail/. Her professional biography establishes her qualification to testify with regard to the above-

described matters. Dr. Hail will testify in detail with regard to her education, training, and

experience as a Medical Doctor and Toxicologist.


       RESPECTFULLY SUBMITTED this 26th day of November, 2018.


                                                      JOHN W. HUBER
                                                      United States Attorney

                                                       /s/Michael Gadd
                                                      MICHAEL GADD
                                                      Special Assistant United States Attorney




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